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EXHIBIT J

Monetary Award Claims Report
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~
a SCA
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Death with CTE

Level 1.5

CHART 1: CLAIMS SUBMITTED (TOTAL:

1,913)

MONETARY AWARD CLAIMS: 1,520
DERIVATIVE CLAIMS: 393

CHART 3: QUALIFYING DIAGNOSIS DATE
fPre-Effective Date: 1.218 m!Post-Effective Date: 88
ALS

Unknown / Multiple

Alzheimer's

telatsit:laarANiclae| eine Seen
ONS eo) i Pa Aird)

Death with CTE

ALS

Alzheimer’s
Disease

Parkinson's
Disease

Level 2

CHART 2: QUALIFYING DIAGNOSIS
ALLEGED FOR MONETARY AWARD
_ CLAIMS

_] 73
| 35
—__] 237

o 70

| 439

Level 1.5

| 568

Unknown / Multiple

fi Unknown: 214

The data in Chart

O 99

Parkinson's

Level 2

3 reflects Qualifying Diagnoses

dates for which Claim Packages have been
submitted. The total number of BAP Qualifying
Diagnoses and MAF exams will be greater than
the number of claims.

(TOTAL: 936)
191

CHART 4: NOTICES ISSUED ON MONETARY AWARD CLAIMS*

702

43
Payable Denied Request for Acetone
OTOTAL 191 43 702
& Not Appealed 171 28 N/A
i Appealed 20 15 N/A

* Note: Chart 4 provides a unique count of all Monetary Award claims that have received a notice. Claims receiving

multiple notices are counted only once in Chart 4 based on the most recent notice issued.

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aa ran ae ae
Cie) fs 7a BVA i

290, 240,687,567 CHART 5: PAYABLE CLAIMS SUMMARY ~ $300,000,000
160 - ~ $250,000,000
120 - ~ $200,000,000
80 arch $99,916,867 $74,989,632 ~ $150,000,000
$100,000,000
40 - | oe) $74,880 * $80,000,000
0 0
Funding by the Payments Made | Payments Made
Monetary Awards NFL Parties for to Retired Players | y ys
. . to Derivative
Issued to Date Final Monetary and Rep. . ee
Claimants
a . Awards Claimants**
ODollars $240,687 ,567 $99, 916, 867 $74,989, 632. $74,880
Claims 191 63 4

* This figure reflects the Monetary Award totals prior to any application of holdbacks for potential Derivative Claimants, common benefit fees, liens
and determinations on appeals.
** The difference between the dollars funded by the NFL and the dollars paid out to Settlement Class Members represents amounts withheld for
Potential Derivative Claimant Awards, common benefit fees and liens and could still be paid to the SCM.

Pca

le Nesas 3 eae ucla ad a ome

Payable ¢ Claims
{ Appeal Filed and Awaiting Fee Payment or 0 0 0
"_|Filed Appeal Notice
2. |Appeal Alert Issued - No Response Yet 1 10 11
3. {Appellee Opposition Memo Received 0 3 3
4. |With Special Masters for Decision 1 0 1
5. {Result Upheld on Appeal 1 3 4
6. |Result Overturned on Appeal 0 1 1
By. Denied Claims 15 0. 15 .
{ Appeal Filed and Awaiting Fee Payment or { 0 1
"_|Filed Appeal Notice
2. |Appeal Alert Issued - No Response Yet 5 0 5
3. |Appellee Opposition Memo Received 2 0 2
4. {With Special Masters for Decision 3 0 3
5. |Result Upheld on Appeal 4 0 4
6. |Result Overturned on Appeal 0 0 0
C. TOTAL APPEALS 18. AZ 35

*** Co-Lead Class Counsel has filed statements in seven of the Appeals listed in Table 1. These Appeals are distributed
across multiple statuses in the Appeals Process.

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1. |Death with CTE Claims 4 2
2. JALS Claims 0 0
3. |Alzheimer’s Disease Claims 17 7
(a) Appeals Advisory Panel Deniai - Inappropriate Physician 2
(b) Appeals Advisory Panel Denial - Qualifying Diagnosis 16
4. |Parkinson's Disease Claims 3
(a) Appeals Advisory Panel Denial - Inappropriate Physician 3
(b) Appeals Advisory Panel Denial - Qualifying Diagnosis 2
5. |Level 2 Claims 14
(a) Appeals Advisory Panel Denial - Inappropriate Physician 3
(b) Appeals Advisory Panel Denial - Qualifying Diagnosis 12
6. jLevel 1.5 Claims 5
(a) Appeals Advisory Panel Denial - Inappropriate Physician 0

(b) Appeals Advisory Panel Denial - Qualifying Diagnosis 5

*Note: Claims receiving a Denial Notice with multiple Denial Reasons will be counted once for each reason in the sub rows of Table
2

Caan
CHART 7: CLAIM PROFILE OF ALL SETTLEMENT CLASS MEMBERS

__ REPRESENTATION STATUS _ _ FiinaMETHOD)

0% dec ee TTY
Represented Pro se

Hard Copy

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of Derivative Claimant Award Determinatio

Baris: e »
| — _NoticeType = —— Total Notices __

1. |Notice of Derivative Claim Package Submission Deadline 93

2. |Derivative Claim Package Receipt Notice 388

3. |Notice of Denial of Derivative Claim 2

4. |Derivative Claimant Incompleteness Notice 0

5. |Derivative Claimant Challenge Determination Notice 19

6. |Noti

Type mi

1. Fall Award (one Derivative Claimant takes all) 9 $218, 747

2. Equal Allocation (by Claims Administrator to multiple Derivative 47 $65,528
Claimants)
(a) Pending 14 $54,000
(b) Final 6 $11,528
Post-Allocation Objection (state law allocation by Claims Administrator

3. ge 0 $0
to multiple Derivative Claimants)
(a) Pending 0 $0
(b) Final 0 $0

4. _|Post-Appeal (by Special Master to multiple Derivative Claimants) 0 $0
(a) Pending 0 $0
(b) Final 0 $0

5. _|Court Determination 0 $0

ae 26 $284,275

eyed vey Es HUN) (ong (0 => ee) a B] =X) /-\ 0) 5m B) 5117: u t= 02

Duplicate

(a) Of Pending Claim

(b) Of Previously-Paid Claim

(c) Of Previously-Denied Claim

No Timely or Proper Registration

(a) By Retired NFL Football Player

(b) By Derivative Claimant

Retired NFL Football Player is Opt Out

Untimely Derivative Claim Package

Deceased Derivative Claimant

sola} p}o

Retired NF Footbal’ Player ¢ Claim Denied

Nlolmfololojolojofololo|=

_ TOTAL |

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aN {80 )

jeduc um! Amoun
1. [Grid Amount 191, $288,897 ,667
(a) Death with CTE 50 $89,820,667
(b) ALS 18 $70,250,000
(c) Alzheimer’s Disease 71 $61,146,000
(d) Parkinson's Disease 30 $36,070,667
(e) Level 2.0 Neurocognitive Impairment 9 $20,034,000
(f) Level 1.5 Neurocognitive Impairment 13 $11,576,333
2. |Deductions.for Offsets 58 $53,724,100
(a) Death with CTE 15 $20,338,400
(b) ALS 4 $12,040,000
(c) Alzheimer's Disease 24 $8,954,700
(d) Parkinson's Disease 12 $10,141,000
(e) Level 2.0 Neurocognitive Impairment 2 $2,100,000
(f) Level 1.5 Neurocognitive Impairment 1 $150,000
3. |Deductions for:Derivative Claimant Awards — 103 $1,476,797
(a) Death with CTE 37 $515,931
{b) ALS 14 $415,000
(c) Alzheimer’s Disease 29 $285,820
(d) Parkinson's Disease 12 $69,906
(e) Level 2.0 Neurocognitive Impairment 5 $99,840
(f) Level 1.5 Neurocognitive Impairment 9 $90,300
4. Withholding for Common Benefit Fees 191 $12,005,539
(a) Death with CTE 50 $3,448,317
(b) ALS 18 $2,934,750
(c) Alzheimer’s Disease 71 $2,729,774
(d) Parkinson's Disease 30 $1,393,688
(e) Level 2.0 Neurocognitive Impairment 9 $891,708
(f) Level 1.5 Neurocognitive Impairment 13 $607,302
5, |Withholding for Liens 117 $61,551,274
(a) Death with CTE 22 $12,398,083
(b) ALS 18 $25,449,845
(c) Alzheimer's Disease 43 $11,281,096
(d) Parkinson's Disease 19 $5,444,347
(e) Level 2.0 Neurocognitive Impairment 7 $4,265,230
(f) Level 1.5 Neurocognitive Impairment 8 $2,712,674

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AYERS’

02823 (E .P ;

ing Diagnosis _

Notice of Monetary Award

$240,687, 567

(a) Death with CTE 50 $69,482,267
(b) ALS 18 $58,210,000
(c) Alzheimer’s Disease 71 $54,881,300
(d) Parkinson's Disease 30 $27 943,667
(e) Level 2.0 Neurocognitive Impairment 9 $17,934,000
(f) Level 1.5 Neurocognitive Impairment 13 $12,236,333
Paid Claims | ~ 67 $75,064,512
(a) Death with CTE 26 $30,504,076
(b) ALS 11 $31,753,088
(c) Alzheimer’s Disease 16 $6,866,969
(cd) Parkinson's Disease 7 $3,460,693
(e) Level 2.0 Neurocognitive Impairment 1 $1,503,525
(f) Level 1.5 Neurocognitive Impairment 2 $901,281
(g) Derivative Claimants 4 $74,880
Paymentin Progress (Claims Currently | in the Funding Disbursement 03 . $29 986, 900
Process) : S
(a) Death with CTE 5 $7,236,000
(b) ALS 2 $5,500,000
(c) Alzheimer’s Disease 10 $12,532,500
(d) Parkinson's Disease 6 $4,718,400
(e) Level 2.0 Neurocognitive Impairment 0 $0
(f) Level 1.5 Neurocognitive Impairment 0 $0
Ready. to.be included on the eee Monthly Func ng epursoment 31. $34,533,067
List (10th of every month). ’
(a) Death with CTE 9 $11,117,200
(b) ALS 4 $10,350,000
(c) Alzheimer’s Disease 9 $3,434,000
(d) Parkinson's Disease 7 $8,408,867
(e) Level 2.0 Neurocognitive Impairment 1 $1,050,000
(f) Level 1.5 Neurocognitive Impairment 1 $173,000
Not Ready to be Included on the Next Monthly Funding/ oe
Disbursement List (appeal option still available to SCM, Class T4 $101,177,968 ©
Counsel, and/or NFL.Parties; hold in place). ee
(a) Death with CTE 10 $20,624,991
(b) ALS 1 $10,606,912
(c) Alzheimer’s Disease 36 $32,047,831
(d) Parkinson's Disease 10 $11,355,707
(e) Level 2.0 Neurocognitive Impairment 7 $15,380,475
(f) Level 1.5 Neurocognitive Impairment 10 $11,162,053

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